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UNITED sTATEs 0F AMERICA, ) UDQYQ¢HWH§
Plaintiff, §
vs. § CR. NO. 04-20498-Ma
RoNALD JoNES, §
Defendant. §

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case due to a
superseding indictment and to allow for the disposition of the
pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv} and 316l(h)(l}(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

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IT rs so oaDERED this day of July, 2005.

~WW“""-\

SAMUEL H. MAYS, JR.

Tthomnmmenmmdonmedowms fm omm?Y UNITED STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20498 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

